             Case 3:18-cv-05997-RBL Document 57 Filed 03/23/20 Page 1 of 2




1    THOMAS P. QUINLAN, WSBA #21325
     ANDREA H. BREWER, WSBA #52724
2    SMITH ALLING, P.S.
     1501 Dock Street
3    Tacoma, WA 98402
     (253) 627-1091
4    tom@smithalling.com
     andrea@smithalling.com
5    Attorneys for Defendants

6

7

8                           UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
9
     KRISTIN ANDRADE, as Trustee for The Paul
10   H. Stavig Family Revocable 1976 Trust, f/k/a          No. 3:18-cv-05997-RBL
     The Paul and Lorraine Stavig Revocable Living
11   Trust, dated February 11, 1976; The Paul H.           ORDER GRANTING MOTION
     Stavig Family Revocable 1976 Trust, f/k/a The         TO COMPEL DISCOVERY
12   Paul and Lorraine Stavig Revocable Living Trust,
     dated February 11, 1976; The California Oral
13   Trust;

14                                 Plaintiffs,

15          v.

16   BARRY ANTON, an individual; BARRY
     ANTON, as Personal Representative for the
17   Estate of Maren Stavig; BARRY ANTON, as
     Trustee of the Anton and Stavig Living Trust;
18   The Estate of Maren Stavig; The Anton and
     Stavig Living Trust,
19                                Defendants.

20
            THIS MATTER having come on for hearing before the above entitled Court upon the
21
     motion of Defendant Barry Anton for an Order compelling discovery responses from
22
     Plaintiff; the Court having considered the Motion to Compel Discovery and supporting
23


      ORDER (Cause No. 3:18-cv-05997-RBL) – Page 1
                                                                                     1501 Dock Street
                                                                           Tacoma, Washington 98402
                                                                            Telephone: (253) 627-1091
                                                                             Facsimile: (253) 627-0123
               Case 3:18-cv-05997-RBL Document 57 Filed 03/23/20 Page 2 of 2




1    declaration and exhibits thereto, Plaintiff’s Opposition and Defendant’s Reply, if any, as well

2    as the records and files herein, it is hereby

3           ORDERED that Defendant’s Motion to Compel Discovery is GRANTED. It is

4    further

5           ORDERED that Plaintiff shall provide responses without objections to Defendant’s

6    Interrogatories 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, and 18 and Requests for 4, 6, 7, 8, 9,

7    10, 11, 12, 13, 15, 18 and 19 by no later than March 13, 2020.

8           DATED this 23rd day of March, 2020.



                                                           A
9

10
                                                           Ronald B. Leighton
11                                                         United States District Judge

12   PRESENTED BY:

13   /s/Thomas P. Quinlan                                  /s/Andrea H. Brewer
     WSBA#21325                                            WSBA #52724
14   E-mail: tom@smithalling.com                           Email: andrea@smithalling.com
     SMITH ALLING, P.S.                                    SMITH ALLING, P.S.
15   1501 Dock Street                                      1501 Dock Street
     Tacoma, WA 98402                                      Tacoma, WA 98402
16   Telephone: (253) 627-1091                             Telephone: (253) 627-1091
     Attorneys for Defendants                              Attorneys for Defendants
17

18

19

20

21

22

23


     ORDER (Cause No. 3:18-cv-05997-RBL) – Page 2
                                                                                            1501 Dock Street
                                                                                  Tacoma, Washington 98402
                                                                                   Telephone: (253) 627-1091
                                                                                    Facsimile: (253) 627-0123
